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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                           CINCINNATI DIVISION


EQUAL EMPLOYMENT OPPORTUNITY                 )
COMMISSION,                                  )
                                             )      CIVIL ACTION NO.:
                                             )      1:18-cv-0063
                    Plaintiff,               )
                                             )
v.                                           )
                                             )      COMPLAINT
MPW INDUSTRIAL SERVICES,                     )
INC,                                         )
                                             )
                    Defendant.               )
                                             )      JURY TRIAL DEMAND
                                             )


                            NATURE OF THE ACTION


      The United States Equal Employment Opportunity Commission (the

“EEOC” or the “Commission”) brings this action against MPW Industrial

Services, Inc., pursuant to Title VII of the Civil Rights Act of 1964 and Title I of

the Civil Rights Act of 1991 to correct unlawful employment practices on the

basis of race, and to provide appropriate relief to Derick D. Ziegler (“Ziegler”)

and Tyler J. White (“White”) who were adversely affected by such practices. As

alleged in paragraph twelve below, the Commission alleges that MPW subjected

Ziegler and White to a racially hostile work environment, because of their race,

African American.
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                           JURISDICTION AND VENUE

      1.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451,

1331, 1337, 1343 and 1345. This action is authorized and instituted pursuant

to Section 706(f)(1) and (3) of Title VII of the Civil Rights Act of 1964, as

amended, 42 U.S.C. § 2000e-5(f)(1) and (3) ("Title VII") and Section 102 of the

Civil Rights Act of 1991, 42 U.S.C. §1981a.

      2.     The employment practices alleged to be unlawful were committed

within the jurisdiction of the United States District Court for the Southern

District of Ohio, Cincinnati Division.

                                     PARTIES

      3.     Plaintiff, the Commission, is the agency of the United States of

America charged with the administration, interpretation and enforcement of

Title VII, and is expressly authorized to bring this action by Section 706(f)(1)

and (3) of Title VII, 42 U.S.C. § 2000e-5(f)(1) and (3).

      4.     Defendant, MPW Industrial Services, Inc. (“MPW”), at all relevant

times has been a company doing business in the State of Ohio, and has

continuously had at least fifteen (15) employees.

      5.     At all relevant times, MPW has continuously been an employer

engaged in an industry affecting commerce within the meaning of

Sections 701(b), (g) and (h) of Title VII, 42 U.S.C. §§ 2000e (b), (g) and (h).




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                         ADMINISTRATIVE PROCEDURES

       6.    More than thirty (30) days prior to the institution of this lawsuit,

an EEOC Charge of Discrimination was filed by Tyler White and Derick Zeigler

alleging violations of Title VII.

       7.    On August 8, 2017, the Commission issued to Defendant two

Letters of Determination finding reasonable cause to believe that Title VII was

violated and inviting Defendant to join with the Commission in informal

methods of conciliation to endeavor to eliminate the unlawful employment

practices and provide appropriate relief.

       8.    The Commission engaged in communications with Defendant to

provide the opportunity to remedy the discriminatory practices described in the

Letters of Determination referenced above in Paragraph 7.

       9.    The Commission was unable to secure from Defendant a

conciliation agreement that was acceptable to the Commission.

       10.   The Commission issued to Defendant a Notice of Failure of

Conciliation advising Defendant that the Commission was unable to secure

from Defendant a conciliation agreement acceptable to the Commission.

       11.   All conditions precedent to the institution of this lawsuit have been

fulfilled.

                                    STATEMENT OF CLAIMS

       12.   Tyler White (“White”) and Derick Zeigler (“Zeigler”) are both African

Americans. MPW hired White on or about May 19, 2016. MPW hired Zeigler

almost two week earlier on May 9, 2016. During their employment MPW


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subjected them both to a racially hostile work environment in violation of

Section 703(a) of Title VII, 42 U.S.C. § 2000e-2(a):

             a.    MPW subjected White to a racially hostile work environment

that included, but was not limited to racial epithets, jokes and comments from

co-workers and supervisors, and two separate hangman-noose incidents, with

one hangman’s noose being placed around White’s neck. Despite White’s

repeated complaints about the racially hostile environment, MPW took no or

insufficient action to rectify the harassment in violation of Title VII.

             b.    MPW subjected Zeigler to a racially hostile work environment

that included but was not limited to racial epithets, jokes and comments from

co-workers and supervisors, a hangman noose incident, and refused access to

a break-room because it was stated a Klu Klux Klan meeting was being held.

Despite Zeigler’s repeated complaints about the racially hostile environment,

MPW took no or insufficient action to rectify the harassment in violation of

Title VII.

       13.   The effect of the practices complained of in paragraph 12 above

has been to deprive White and Zeigler of equal employment opportunities and

to otherwise adversely affect their employment status because of their race.

       14.   The unlawful employment practices complained of in paragraph 12

above were intentional.




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      15.    The unlawful employment practices complained of in paragraph 12

above were done with malice or with reckless indifference to White’s and

Zeigler’s federally protected rights.

                              PRAYER FOR RELIEF

      WHEREFORE, the Commission respectfully requests that this Court:

      A.     Grant a permanent injunction enjoining MPW, its officers,

successors, assigns, and all persons in active concert or participation with it,

from engaging in discrimination based on race.

      B.     Order MPW to institute and carry out policies, practices, and

programs which effectuate the equal treatment of its employees in the terms

and conditions of their employment and which eradicate the effects of its past

and present unlawful employment practices based on race.

      C.     Order MPW to make whole Zeigler and White by providing them

compensation for past and future pecuniary losses resulting from the unlawful

employment practices described in paragraph 12 above in amounts to be

determined at trial.

      D.     Order MPW to make whole Ziegler and White by providing them

compensation for past and future non-pecuniary losses resulting from the

unlawful practices complained of in paragraph 12 above, including emotional

pain, suffering, inconvenience, loss of enjoyment of life, embarrassment and

humiliation, in amounts to be determined at trial.




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      E.     Order MPW to pay Ziegler and White punitive damages for its

malicious and reckless conduct described in paragraph 12 above, in amounts

to be determined at trial.

      F.     Grant such further relief as the Court deems necessary and proper

in the public interest.

      G.     Award the Commission its costs of this action.



                             JURY TRIAL DEMAND

      The Commission requests a jury trial on all questions of fact raised by its

Complaint.



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